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                                EXHIBIT 10
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                                  HIGHLAND CAPITAL MANAGEMENT, L.P.

 December 3, 2020



 James Dondero
 c/o Highland Capital Management, L.P.
 300 Crescent Court, Suite 700
 Dallas, Texas 75201

         Re: Demand on Promissory Notes:

 Dear Mr. Dondero,

 You entered into the following promissory notes (collectively, the “Notes”) in favor of Highland
 Capital Management, L.P. (“Payee”):

Date Issued      Original Principal    Outstanding Principal     Accrued But           Total Amount
                      Amount            Amount (12/11/20)       Unpaid Interest    Outstanding (12/11/20)
                                                                  (12/11/20)
   2/2/18            $3,825,000            $3,687,269.71          $21,003.70           $3,708,273.41
   8/1/18            $2,500,000            $2,619,929.42          $27,950.70           $2,647,880.12
  8/13/18            $2,500,000            $2,622,425.61          $25,433.94           $2,647,859.55
  TOTALS            $16,725,000            $8,929,624.74          $74,388.33           $9,004,013.07

 As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
 upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
 and principal due and payable on the Notes in the aggregate amount of $9,004,013.07, which
 represents all accrued and unpaid interest and principal through and including December 11,
 2020.

 Payment is due on December 11, 2020, and failure to make payment in full on such date
 will constitute an event of default under the Notes.

 Payments on the Notes must be made in immediately available funds. Payee’s wire information
 is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
 expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
 accrue until the Notes are paid in full. Any such interest will remain your obligation.

 Sincerely,

 /s/ James P. Seery, Jr.

 James P. Seery, Jr.
 Highland Capital Management, L.P.
 Chief Executive Officer/Chief Restructuring Officer



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cc:     Fred Caruso
        James Romey
        Jeffrey Pomerantz
        Ira Kharasch
        Gregory Demo
        D. Michael Lynn




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                                    Appendix A


                  ABA #:          322070381
                  Bank Name:      East West Bank
                  Account Name:   Highland Capital Management, LP
                  Account #:      5500014686
